                       Case 2:18-cv-05934-MWF-KS Document 50 Filed 11/04/19 Page 1 of 5 Page ID #:410



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                        12
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                        14    BITPAY, INC.

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                                                        UNITED STATES DISTRICT COURT
                        16
                                                      CENTRAL DISTRICT OF CALIFORNIA
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                                                                      WESTERN DIVISION
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                        19
                              OX LABS, INC.,                                   Case No. 2:18-cv-05934-MWF-KS
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                                                       Plaintiff,              DEFENDANT BITPAY, INC.’S
                                                                               OPPOSITION TO
                        22    vs.                                              PLAINTIFF’S MOTION IN
                        23    BITPAY, INC. and Does 1-10,                      LIMINE NO. 1 TO
                                                                               PRECLUDE EVIDENCE OF
                        24                             Defendants.             PARTIES’ SETTLEMENT
                        25                                                     COMMUNICATIONS

                        26                                                     Pretrial Conf: November 18, 2019
                        27                                                     Time: 11:00 A.M.
                                                                               Dept.: 5A
                        28                                                     Trial: December 3, 2019
                               OPPOSITION TO MOTION IN LIMINE NO. 1                              Case No. 2:18-cv-05934-MWF-KS
                       Case 2:18-cv-05934-MWF-KS Document 50 Filed 11/04/19 Page 2 of 5 Page ID #:411



                         1                   MEMORANDUM OF POINTS AND AUTHORITIES:
                         2    I.      INTRODUCTION
                         3            In general, BitPay does not oppose the exclusion of evidence of proposals for
                         4    settlement as required by FRE 408. Plaintiff Ox Labs’ Motion in Limine No. 1,
                         5    however, is premature and overbroad, as it seeks to exclude all factual
                         6    communications because they happen to contain proposals for settlement.
                         7    II.     ARGUMENT
                         8            A.      Ox Labs Impermissibly Points To Communications
                                              Generally Without Citing The Specific Language At Issue.
                         9
                        10            Ox Labs’ Motion in Limine No. 1 should be denied outright for failing to
                        11    specifically identify the evidence it seeks to exclude. As stated in Mims v. Fed.
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                        12    Express Corp., No. CV 13-03947-AB (SSX), 2015 WL 12711651, at *1 (C.D. Cal.
                        13    Jan. 15, 2015):
                                           Motions in limine afford the court and counsel the opportunity to
                        14                 give more deliberate consideration to specific objections
                        15                 to specific evidence. Colton Crane Co., LLC v. Terex Cranes
                                           Wilmington, Inc., No. CV 08-8525-PSG (PJWx), 2010 WL
                        16                 2035800, at *1 (C.D. Cal. May 19, 2010). They will not lie to
                        17                 exclude broad categories of evidence. See Liberal v. Estrada,
                                           No. C 07-0024 SBA, 2011 WL 3956068, at *5. As one California
                        18                 court has succinctly observed, unless the motion
                        19                 identifies specific evidence it seeks to exclude and
                                           the specific reasons to exclude it, the court would be forced to
                        20                 “rule in a vacuum” on the admissibility of evidence. Kelly v. New
                        21                 West Federal Savings, 49 Cal.App.4th 659, 670, 56 Cal.Rptr.2d
                                           803 (Cal. Ct. App. 1996). If granted, such amorphous motions
                        22
                                           would “leav[e] the court and the parties to guess what [evidence]
                        23                 during trial may be included within the scope of the ruling.” Id.
                        24
                              See also Vago v. Cty. of Los Angeles, No. CV 13-868 DMG (RZX), 2015 WL
                        25
                              13697386, at *4 (C.D. Cal. Aug. 7, 2015):
                        26                Motions in limine should      refer       to specific evidence.
                        27                (See Scheduling and Case Management Order at 7
                                          (“Motions in limine should address specific issues (i.e., not “to
                        28
                               OPPOSITION TO MOTION IN LIMINE NO. 1       1                   Case No. 2:18-cv-05934-MWF-KS
                       Case 2:18-cv-05934-MWF-KS Document 50 Filed 11/04/19 Page 3 of 5 Page ID #:412



                         1                    exclude all hearsay, etc.).”) [Doc. # 22].) The Court declines to
                                              consider        blanket        objections.    Counsel       may
                         2                    raise specific objections at trial.
                         3
                                       B.     Review Of The Specific Evidence Sought To Be Excluded
                         4
                                       In broad-brush terms, Ox Labs seeks to exclude evidence of the following:
                         5
                                       1.     Letters between May and July 2017 between Larry Kunin, trial counsel
                         6
                              for BitPay, and David Gutierrez, General Counsel for Ox Labs. Since it appears the
                         7
                              parties are stipulating to the fact that Mr. Gutierrez made a demand, and that Mr.
                         8
                              Kunin rejected the demand, BitPay agrees to exclude these letters from evidence.
                         9
                                       2.     A set of emails between the principals of the parties between February
                        10
                              2017 and May 2017 (before lawyers were involved), including an attachment to
                        11
                              those emails from Ox Labs to BitPay, contain pre-trial settlement offers, discussions,
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                        12
                              and rejections. Complete exclusion of these emails is improper as they do not relate
                        13
                              to settlement discussions, but instead relate to the factual investigation of the issue
                        14
                              in this lawsuit. To the extent any language is seemed a proposal for compromise,
                        15
                              that can be redacted at trial. To completely exclude this probative evidence at this
                        16
                              stage is improper and not required by FRE 408. Indeed, it is this exchange of emails
                        17
                              that discloses that it was BitPay that discovered the error, initiated the investigation
                        18
                              with Ox Labs, and Ox Labs’ response to its end of the investigation. These
                        19
                              communications are absolutely “business communications” of investigation of the
                        20
                              issue.
                        21
                                       As stated by Ox Labs, the Ninth Circuit requires that settlement discussions
                        22
                              must first have crystallized before Rule 408 will apply to bar admission of evidence.
                        23
                              Josephs v. Pac. Bell, 443 F.3d 1050, 1064 (9th Cir. 2006) (“Because the purpose of
                        24
                              Rule 408 is to encourage the compromise and settlement of existing disputes,”
                        25
                              evidence of a grievance proceeding could be admitted because it did not concern
                        26
                              Plaintiff’s not-yet-filed discrimination claim). The emails and attachments between
                        27
                              the parties relate to the underlying issue and its investigation, they were not
                        28
                              crystallized into settlement discussions.
                               OPPOSITION TO MOTION IN LIMINE NO. 1        2                     Case No. 2:18-cv-05934-MWF-KS
                       Case 2:18-cv-05934-MWF-KS Document 50 Filed 11/04/19 Page 4 of 5 Page ID #:413



                         1            3.      June 6, 2017 letter from L. Kunin to D. Gutierrez (“This law firm
                         2
                              represents Bitpay … the demand by Ox Labs represents an attempt to obtain a
                         3
                              windfall.... By our calculations, the value of the Bitcoins on July 11, 2015 was
                         4
                              approximately $56,000. BitPay will deliver such funds upon full satisfaction of the
                         5
                         6    error ....”). This too is not a settlement communication – no compromise was offered

                         7    – it was BitPay’s calculation of the error.
                         8            4.      July 12, 2017 letter from L. Kunin to D. Gutierrez (“I have discussed
                         9
                              Ox Labs’ settlement options with BitPay. BitPay remains unwilling to pay ....”). Ox
                        10
                              Labs also refers to this Court’s language in its summary judgment order that this
                        11
                              letter was an “offer of settlement.” Order at 4 (Dkt. 36). This is simply not true on
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                        12
                        13    the face of the letter – it was an unconditional tender of payment. The letter outright

                        14    rejects settlement with no counter but instead makes an unconditional tender of
                        15    payment – no settlement, no release. To the extent the Court determines liability,
                        16
                              this letter is evidence of alleged damages already paid, which affects liability in the
                        17
                              first place as well as any right to interest.
                        18
                        19
                                                                              Respectfully submitted,
                        20
                              DATED: November 4, 2019                         RUSS, AUGUST & KABAT
                        21                                                    Benjamin T. Wang
                                                                              James S. Tsuei
                        22
                                                                              By: /s/ Benjamin T. Wang
                        23
                                                                                  Attorney for Defendant
                        24                                                        BitPay, Inc.
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                               OPPOSITION TO MOTION IN LIMINE NO. 1           3                   Case No. 2:18-cv-05934-MWF-KS
                       Case 2:18-cv-05934-MWF-KS Document 50 Filed 11/04/19 Page 5 of 5 Page ID #:414



                         1                                 CERTIFICATE OF SERVICE
                         2            I hereby certify pursuant to the Federal Rules of Civil Procedure and LR 5-3
                         3    and 5-4 that the foregoing DEFENDANT BITPAY, INC.’S OPPOSITION TO
                         4    PLAINTIFF’S MOTION IN LIMINE NO. 1 TO PRECLUDE EVIDENCE OF
                         5    PARTIES’ SETTLEMENT COMMUNICATIONS was served upon the
                         6    attorney(s) of record for each party through the ECF system as identified on the
                         7    Notice of Electronic Filing on November 4, 2019.
                         8
                         9
                        10
                        11                                            By:     /s/ Benjamin T. Wang
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                        12                                                  Benjamin T. Wang

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                               OPPOSITION TO MOTION IN LIMINE NO. 1          4                  Case No. 2:18-cv-05934-MWF-KS
